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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

                     Plaintiff,

        v.                                      CRIMINAL NO. 1:14CR89-06
                                                     (Judge Keeley)

  WILLIAM MONTAGUE, III,

                     Defendant.

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
        REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
     FELONY CASE (DKT. NO. 713) AND SCHEDULING SENTENCING HEARING

        On March 11, 2016, the defendant, William Montague, III

  (“Montague”),      appeared     before   United     States    Magistrate   Judge

  Michael J. Aloi and moved for permission to enter a plea of guilty

  to Count Fifteen of the Indictment. After Montague stated that he

  understood that the magistrate judge is not a United States

  District Judge, he consented to tendering his plea before the

  magistrate judge. Previously, this Court had referred the guilty

  plea to the magistrate judge for the purposes of administering the

  allocution pursuant to Federal Rule of Criminal Procedure 11,

  making     a   finding    as   to   whether   the    plea    was   knowingly   and

  voluntarily entered and recommending to this Court whether the plea

  should be accepted.

        Based upon Montague’s statements during the plea hearing and

  the testimony of Special Agent John Large, Federal Bureau of

  Investigation,      the    magistrate    judge      found   that   Montague    was

  competent to enter a plea, that the plea was freely and voluntarily
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           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.713) AND SCHEDULING SENTENCING HEARING

  given, that he was aware of the nature of the charges against him

  and the consequences of his plea, and that a factual basis existed

  for the tendered plea. On March 11, 2016, the magistrate judge

  entered a Report and Recommendation Concerning Plea of Guilty in

  Felony Case (“R&R”) (dkt. no. 713) finding a factual basis for the

  plea and recommending that this Court accept Montague’s plea of

  guilty to Count Fifteen of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Montague’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Fifteen of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.713) AND SCHEDULING SENTENCING HEARING

          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

          1.   The Probation Officer shall undertake a presentence

  investigation of Montague, and prepare a presentence report for the

  Court;

          2.   The Government and Montague are to provide their versions

  of the offense to the probation officer by April 13, 2016;

          3.   The presentence report is to be disclosed to Montague,

  defense counsel, and the United States on or before June 13, 2016;

  however, the Probation Officer is not to disclose the sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

          4.   Counsel may file written objections to the presentence

  report on or before June 27, 2016;

          5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before July 11, 2016; and

          6.   Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual basis from the statements or motions, on or before July 25,

  2016.




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       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO.713) AND SCHEDULING SENTENCING HEARING

        The magistrate judge remanded Montague to the custody of the

  United States Marshal Service.

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Wednesday, August 3, 2016 at 2:30 P.M., at the

  Clarksburg, West Virginia, point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: March 30, 2016


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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